CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.lGZ Page 1 Of 22

EXHIBIT A

 

CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.lGS Page 2 Of 22

DEPARTMENT OF THE NAVY
oFFacE oF THE JchE onocATE GENERAL
ToRT cLAlMs uN:T NcRFoLK
9620 MARYLAND AVENUE suiTE 205

NORFOLK, VA 23511-2949 ‘N REPLV REFER m

 

5890
Scr 1170383
April 14, 2017

CERTIFIED MAIL
RETURN RECEIPT REOUESTED

sHIRAZ K KHAN EsQ

THE sHiRAZ LAW FIRM PLLC
20245 W 12 MILE RD sUITE 215
soUTHFIELD 1\/11 48076

Dear Mr. Khan:

SUBJECT: CLAIl\/IS OF GHAZALA AND MASOOD SIDDIQUI, INDIVIDUALLY AND
AS CO-PERSONAL REPRESENTATIVES OF THE ESTATE OF RAHEEL
SIDDIQUI, DECEASED; OUR FILE NOS. J170383 AND 1703 84

This responds to your clients’ administrative claims in the amounts of $60,000,000.00
and $40,000,000.00, respectively, for damages allegedly resulting from a fatal fall incident
onboard l\/larine Corps Recruit Depot Parris lsland in Parris lsland, South Carolina, on March 18,
2016. Your clients’ claims Were analyzed under the Federal Tort Claims Act (FTCA), 28 U.S.C.
§§ 1346(b), 2401(b), and 2671-2680. Our investigation has determined the United States is not
liable under the FTCA for the damages claimed.

Active duty service members are barred from seeking recovery against the government in tort
for injuries arising out of their military service by the doctrine set forth by the United States
Supreme Court in Feres v. United States, 340 U.S. 135 (1950). Altercations With fellow service
members, suicides and other incidents occurring in on-base squad bays/barracks are uniformly
deemed to arise out of the member’s'military service See, e.g., Purcell v. United Stafes, 656 F.3d
463, 467 (7th Cir. 2011) (suicide in barracks); Castro v United States, 2016 U. S. Dist LEXIS 80701,
2016 W1 3405448 (N. D Cal June 21 2016) ( fatal shooting 1n barracks). Accordingly, the claim
filed on behalf of the Estate of Raheel Saddiqui is denied.

Claims that are derivative of an injury to an active duty service member are also barred by
the Feres doctrine See Kena’rz'ck v. United States, 877 F.2d 1201 (4th Cir. 1989); Harz‘lz`ne v. United
States, 1994 U,S. App. LEXIS 3259 (4th Cir. Feb. 24, 1994); Skees v. United States By & Through
Dep 'z szhe Army, 107 F.3d 421 (6111 Cir. 1997); De Fom v. Unisz szes, 453 F.2d 1239 (1sr Cir.
1972). Accordingly, the claims filed on behalf of l\/lr. and Mrs. Saddiqui, individually, are denied.

lf your clients do not agree With this decision, be advised they have six months from the
date of mailing of this letter to file suit in the appropriate Federal district court. By laW, failure

 

CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.164 Page 3 Of 22

5890
serJ170383
Apn114,2017

to comply With this six month time limit may forever bar them from Hling a lawsuit. lf you have
any questions, please contact me by phone at 757-341-4580 or email at john.braley@navy.mil.

Sincerely,

 

11
JOHN R. BRALEY IV
Tort Claims Attorney

 

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age 217 cv 13351`AJT-DRG EcF No. 13-1 filed 05/29/13 Pagelo.ie§ Page 4 of 22

    

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CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.lGG Page 5 Of 22

EXHIBIT B

 

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A PROFESS|ONAL Lll\/HTED L|ABlL|TY COMPANY
December 12, 2016

DELIVERED VIA CERTIFIED MAIL
Off`ice of the Judge Advocate General
Tort Claims Unit Norfolk

9620 Maryland Avenue, Suite 205
Norf`o1k, VA 23 5 1 1~2949

RE: Death of Raheel Siddiqui
Location: United States Marine Corps, Parris Island, SC.
To Whom lt May Concern:

Please see the completed SF-95 payable under the Federal Tort Claims Act (FTCA).
28 USC §§ 1346(1)), 2671-2680.

Thank you for your attention to this matter

 

SKK:ah
Enclosures.

cc. Ghazala Siddiqui
Parent (Mother) of Deceased Raheel Siddiqui
& On Behalf` of the Estatc of Raheel Siddiqui
c/o Shiraz K. Khan, ESQ.
20245 W. 12 Mile Rd., Suite 215
S'outhfield, Ml. 48076

Siddiq.1212l6 pg. l 0f2

 

THE SHlRAZ LAW F|RM, PLLC. 1
20245 W. 12 Mile Rc|, Suite 215, Southtie|d, Mi 48076. Tel: 248.419.0678 Folx: 248.817.4833
Emoii|: info@shl'roz|ciwfirm.com Website: WWW.shiro\z|ciwfirm.com

 

 

CaSe 2217-CV-13351-A.]T-[5RG ECF NO. 13-1 filed 05/29/18 EL"‘F’age|D.f|_€S Page 7 Of 22

cc. Masood Siddiqui
Parent (Father) of Deceased Raheel Siddiqui
& On Behalf of the Estate of Raheel Siddiqui
c/o Shiraz K. Khan, ESQ.
20245 W. 12 Mile Rd., Suite 215
Southf`reld, Ml. 48076

cc. Department of the Navy Headquarters
United States Marine Corps
3000 Marine Corps Pentagon
Washington, DC 20350-4000

Siddiq.121216 pg. 2 0f2

 

THE SHlRAZ LAW F|RM, PLLC.
20245 W. 12 Mi|e Rd, Suite 215, Southfield, Mi 48076. Te|: 248.419.0678 Fcl)<: 248.817.4833
Emcil: info@shirclzlcwfirm.com Website: www.shirozlcwfirm.com

 

 

 

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lNJuRv, OR DEATH i§§i¥$§§;§§11;§;‘1’§1¥1;11‘;§‘111;°1%;‘;§‘;is§:i?QVZ?§;S;§Z;%§§* 'S
additional instructions

 

 

 

 

1 . Submit to Appropriate Federal Agency; 2_ Name, address of claimant, and claimants personal representative if any.
(See instnictions on reverse). Number, Street, City, State and Zip code

Otfice ot the Judge Advocate General Raheel Siddiqui, Deceased.
Tort Claims Unit l\loriolk Ghazala Siddiqui, Parent 81 On Behalf of R.Siddiqui's Estate
9620 i\/|aryland Avenue, Suite 205 c/o Shiraz K. Khan, ESQ./The Shiraz Law Firm PLLC.
Norio|i<, VA 23511-2949 20245 W_lZ Mile Road, Ste. 215, Southtieid, l\/ii 48076
3. TYPE oF EMPLoYMENT 4. DATE oF sier 5_ MARirAL sTArus 6. DATE AND DAY oi= AccioENr 7. TIME (A.M_ OR P.M.)

S€€ Add€ndum 12/15/1995 single eee addendum eee addendum

 

 

 

 

 

8_ BASIS OF CLAli\/l (Staie in detail the known facts and circumstances attending the damage injury, or death, identifying persons and property involved, the place of occurrence and
the cause thereon Use additional pages if necessary).

SEE ADDENDUl\/l

 

9- " ` f 7rizo1515izrifidiiivutee

 

NAME AND ADDRESS OF OWNER, IF OTHER THAN Cl_AlN|ANT (Number, Sl;reet, City, State, and Zip Code).

N/A es%t§2922e1

 

BRlEFLY DESCRlBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE Tl-lE PRO
(See instructions on reverse side).

 

N/A

 

10. PERSONAL lNJURYNVRONGFUL DEATH

 

    

STATE THE NATURE AND EXTENT OF EACH lNJURY OR CAUSE OF DEATH, WHiCH FORMS THE BAS|S OF THE CLAl
OF THE lNJURED PERSON OR DECEDENT.

DE/-\TH AS A RESULT OF NEGLlGENCE, l\/llSCONDUCT, l\/lALTREATl\/lENT, HAZlNG, A
OF COl\/lNlAND (SEE /-\'f`l'ACHl\/lENTS & ADDENDUl\/l) &zt?€ §§
*NAVAL CRll\/llN/-\L lNVESTlGATl\/E SERVlCE (NClS) LEGAL AND ADl\/llNlSTRATlVE PROCESSES ENDlNG

 

 

 

 

 

 

11. WlTNESSES
NAME ADDRESS (Number, Street, City, State, and Zip Code)
SEE ADDENDU l\/i
12. (See instmctions on reverse). ANlOUNT OF CLAlM (in dollars)
12a PROPERTY DAMAGE le, PERSONAL lNJURY 12c. WRONGFUL DEATH 12d. TOTAL (Failure to specify may cause
forfeiture of your rights).
See Addendum $60,000,000.00

 

 

 

 

i CERTlFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND lNJURlES CAUSED BY THE lNClDENT ABOVE AND AGREE TO ACCEPT SAlD AMOUNT |N
FULL SATlSFACT|ON AND FINAL SET\'LEMENT OF THiS CLAlM.

 

 

 

 

13aA S|GNATURE OF CLAlNlANT (See instructions on reverse side)_ 13b. PHONE NUMBER OF PERSON SlGNlNG FORM 14. DATE OF SIGNATURE
o * ‘
é}l\a$,qjo. 5 , JJ¢ au 14 i 7344379011 er Legei; 248419_0673 12/03/2016
v
ClViL PENALTY FOR PRESENTlNG CRlMlNAL PENALTY FOR PRESENT|NG FRAUDULENT
FRAUDULENT CLAlM CLAlM OR N|AK|NG FALSE STATEMENTS

The claimant is liable to the United Staies Government for a civil penalty of not less than Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729).

 

 

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Case 2:17-cv-13351-A.]T1DRG ECF|L\§QRAL§€(',LOV§M oblze/id Pagen_).i/u wage s of zz'

 

ln order that subrogation claims may be adjudicated it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

 

15. Do you carry accident lnsurance? l:l Yes |f yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. |:l No

SEE ADDENDUl\/l

 

16. l-lave you filed a claim With your insurance carrier in this instance, and if so, is it full coverage or deductible'?l l:l Yes m No

SEE ADDENDUl\/l

17. lf deductible, state amount

 

 

18. lf a claim has been nled with your carrier, what action has your insurer taken or proposed to take with reference to your claim'? (lt is necessary that you ascertain these facts),

SEE ADDENDUl\/l

 

191 Do you carry public liability and property damage insurance? l:l Yes lf yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code). ij No

N/A

 

iNsTRucrioNs
Claims presented under the Federa| Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose

employee(s) was involved in the incident.
claim form.

if the incident involves more than one claimant, each claimant should submit a separate

Complete all items - lnsert the word NONE where applicable.

A CLAllVl SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL
AGENCY RECElVES FROM A CLAIMANT, HlS DULY AUTHORIZED AGENT, OR LEGAL
REPRESENTAT|VE, AN EXECUTED STAND/-\RD FORM 95 OR OTHER WR|Ti`EN
NOT|FlCATlON OF AN lNC|DENT, ACCON|PANIED BY A CLAllVl FOR MONEY

Failure to completely execute this form or to supply the requested material within
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is
mailed.

lf instruction is needed in completing this form, the agency listed in item #1 on the reverse
side may be contacted Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
l\/lany agencies have published supplementing regulations lf more than one agency is
involved, please state each agency.

The claim may be titled by a duly authorized agent or other legal representative provided
evidence satisfactory to the Government is submitted With the claim establishing express
authority to act for the claimant A claim presented by an agent cr legal representative
must be presented in the name of the claimant lf the claim is signed by the agent or
legal representativel it must show the title or legal capacity of the person signing and be
accompanied by evidence of his/her authority to present a claim on behalf of the claimant
as agent, executor, administrator, parent, guardian or other representative

lf claimant intends to Hle for both personal injury and property damage, the amount for
each must be shown in item number 12 of this fonn.

DAMAGES lN A SUM CERTA|N FOR lNJURY TO OR LOSS OF PROPERTY, PERSONAL
lNJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE lNClDENT.
THE CLAlM MUST BE PRESENTED TO THE APPROPR|ATE FEDERAL AGENCY VV|THlN
TWO ¥EARS AFTER THE CLAlM ACCRUES.

The amount claimed should be substantiated by competent evidence as follows:

(a) ln support of the claim for personal injury or death, the claimant should submit a
written report by the attending physician, showing the nature and extent of the injury, the
nature and extent of treatment the degree of permanent disability, if anyl the prognosis,
and the period of hospitalizationy or incapacitation, attaching itemized bills for medical,
hospital, or burial expenses actually incurred

(b) ln support of claims for damage to property, which has been or can be economically
repaired, the claimant should submit at least two itemized signed statements or estimates
by reliable, disinterested concerns, or, if payment has been made, the itemized signed
receipts evidencing payment

(c) in support of claims for damage to property which is not economically repairable, or if
the property is |ost*or destroyed, the claimant should submit statements as_to the original n
cost of the property, the date of purchase, and the value of the property, both before and
after the accident Such statements should be by disinterested competent persons,
preferably reputable dealers or ochials familiar with the type of property damaged, or by
two or more competitive bidders, and should be certified as being just and correct

(d) Failure to specify a sum certain will render your claim invalid and may result in
forfeiture of your rights

 

PR|VACY ACT NOTlCE

This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and
concerns the information requested in the letter to which this Notice is attached
A1 Authon'ty: The requested information is solicited pursuant to one or more of the
following; 5 U_S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R.
Part 14_

 

B. Pn'ncipa/ Purpose: The information requested is to be used in evaluating claims

C. Routine Use.' See the Notices of Systems of Records for the agency to whom you are
submitting this form for this information

D. Effect ofFai/ure to Respond.' Disclosure is voluntary_ However, failure to supply the
requested information or to execute the form may render your claim "inva|id_"

 

 

PAPERWORK REDUCTION ACT NOTlCE

This notice is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C1 3501_ Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing instructionsl searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information Send comments regarding this burden estimate or any other aspect of this collection of informationl including suggestions for reducing this burden, to the Director, Torts
Branch, Attention: Paperworl< Reduction Staff, Civil Division, U_S, Department of Justice, Washington, DC 20530 or to the Offioe of lVlanagement and Budget. Do not mail completed

form(s) to these addresses

 

STANDARD FORM 95 REV. (2/2007) BACK

 

 

 

 

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CLA|M FOR DAMAGE ` lNSTRUC-TiONS: Please read carefully the"~»..stiuctions on the ;?ARBMN/(\)P*:$OO§VO':;)%B
’ s 'd and pply information requested on both sides of this ~ '
lNJ URY: OR DEATH f§:rie{ 532 ;'iditiorsi:l sheet(s) if necessary. See reverse side for
additional instructions
1_ Submit to Appropriate Federal Agency: 2. Name, address of claimant, and claimants personal representative if any_
(See instructions on reverse). Number, Street, City, State and Zip code.
Office of the Judge Advocate General Raheel Siddiqui, Deceased.
Tort Claims Unit Norfolk l\/lasood Siddiqui, Parent & On Behalf of R.Siddiqui's Estate
9620 l\/laryland Avenue, Suite 205 c/o Shiraz K_ Khan, ESQ./The Shiraz Law Firm PLLC.
Noifolk, VA 23511-2949 20245 W_12 l\/lile Road, Ste. 215, Southfield, l\/ll 48076
3. TYPE OF EMPLOYMENT 4. DATE OF BlRTl-l 5. lVlARlTAL STATUS 6. DATE AND DAY OF ACC|DENT 7_ TllVlE (A.M_ OR P_M.)
366 Add@ndum ______ 12/15/1995 singie gee addendum see addendum

 

 

 

 

 

8_ BASlS OF CLAll\./l (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
the cause thereof_ Use additional pages if necessaiy)_

 

 

 

 

 

 

 

     
  

  

  

 

 

 

 

 

 

SEE ADDENDU i\/l
9. PRoPERTY oAiiiiAoE
NAiviE AND AooREss oi= owNER, iF ori-iER THAN cLAiiviANr (Number, street ciry, see and zip cpdpi.
N/A m
BRii~:Fi_Y DEscRiBE THE PROPERTY, NATuRE AND EXTENT oi= THE DAMAGE AND THE LocATioN oi= wHERE THE P e§§§'isiiii§`{/‘§`e'r§ ` TEo.
(See instructions on reverse side). ,$?
555
N/A §
io_ ' PERsoNAi_ iNJuRY/iiirRoNcFui_ DEATH § §
sTATE Ti-iE NATuRE AND ExTENT oF EACH iNJuRY oR cAusE oF DEATH, wiiicH i=oRivis THE BAsis oi= THE , ii= oTH‘§i`€~ti_$El<‘tctAiMANr§‘s“ ’/\re THE NAME
oF THE iNJuREo PERsoN 0R DEchENT_ @ egan »"' 1 Fv/
DEATH AS A RESULT OF NEGLiGENCE, iVilSCONDUCT, i\/lALTREATi\/iENT, HAZiN 6a D ABUSE AT i\`£_i’§ iPLE LEVELS
OF COi\/ii\/iAND (SEE ATTACHMENTS & ADDENDU|VI) __,§€.%
*NAVAL CRii\/iiNAL iNVESTiGATiVE SERVICE (NClS) LEGAL AND ADi\/iiNlSTRATiVE PR NDING
11_ witnesses
NAiviE ADoREss (Number, streetx ciry, state and zip cpdp)
SEE ADDEN DUl\/l
12, (See instructions on reverse). AMOUNT OF CLAIM (in dollars)
12a i=RoPERTY oAiviAcE izb. PERSONAL ii\iJuRY 12¢. wRoNGi=ui_ DEATH izd_ ToTAL (i=aiiure to specify may cause
g 4 forfeiture of your rights)_
Sce Addendum $40,000,000.00

 

 

 

 

l CERT|FY THAT THE AMOUNT OF CLAlM COVERS ONLY DAMAGES AND lNJURiES CAUSED BY THE iNClDENT ABOVE AND AGREE TO ACCEPT SAlD AMDUNT lN
FULL SATlSFACT|ON AND FlNAL SETTLEMENT OF TH|S CLA\M.

 

133. SiGNATURE OF CLAliVlANT (Se instructions 13b. PHONE NUMBER CF PERSON SiGNlNG FORM 14. DATE OF SlGNATURE

 

 

n reverse side). `
U'\l\ NM' 734437901 i or i_egai; 248419-0678 12/08/2016

ClVlL PENALTY FOR PRESENT{NG CR|M!NAL PENALTY FOR PRESENT]NG FRAUDULENT
FRAUDULENT CLAlM CLAlM OR MAK!NG FALSE STATEMENTS
The claimant is liable to the United States Govemment for a civil penalty of not less than Fine, imprisonment or both. (See 18 U_S.C. 287, 1001 .)

$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C, 3729).

 

 

 

 

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28 CFR 14.2

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(`.ase 2'17-CV-13351-A.]T-§DRL`_1 ECF NO. 13-1 filed 05/29/18 ij"'/`PaCl€lD.l?Z Paq€ ll Of 22

lNSURANCE COVERAGE

 

ln order that subrogation claims may be adjudicated it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

 

15. Do you carry accident lnsurance? E Yes

SEE ADDENDUl\/l

lf yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. l:l No

 

16. l-lave you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?

SEE ADDENDUl\/l

m Yes l:l No

17. lf deductible, state amount

 

 

18. lf a claim has been filed with your carrier, what action has your insurer taken or proposed to tal<e with reference to your claim? (lt is necessary that you ascertain these facts).

SEE ADDENDUl\/l

 

19. Do you carry public liability and property damage insurance? l:l Yes lf yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code)_ |:l No

N/A

 

lNSTRUCT|ONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident |f the incident involves more than one claimant, each claimant should submit a separate

claim form.

Complete all items - lnsert the word NONE where applicable.

A CLAlN'| SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL
AGENCY RECE|VES FROi\/l A CLAlMANT, HlS DULY AUTHORlZED AGENT, OR LEGAL
REPRESENTAT|VE, AN EXECUTED STANDARD FORM 95 OR OTHER WRl`l`|'EN
NOTlFlC/-\TlON OF AN |NClDENT, ACCOMPAN|ED BY A CLAlM FOR lVlONEY

Failure to completely execute this form or to supply the requested material within
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is
mailed.

lf instruction is needed in completing this form, the agency listed in item #1 on the reverse
side may be contacted Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
l\/lany agencies have published supplementing regulations lf more than one agency is
involved, please state each agency_

The claim may be Hl|ed by a duly authorized agent or other legal representative provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant A claim presented by an agent or legal representative
must be presented in the name of the claimant lf the claim is signed by the agent cr
legal representative it must show the title or legal capacity of the person signing and be
accompanied by evidence of his/her authority to present a claim on behalf of the claimant
as agent, executor, administrator, parent guardian or other representative

lf claimant intends to file for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form.

DAMAGES lN A SUM CERTA|N FOR lNJURY TO OR LOSS OF PROPERTY, PERSONAL
lNJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE lNC|DENT.
THE CLA|M MUST BE PRESENTED TO THE /-\PPROPR|ATE FEDERAL AGENCY VVlTHIN

TWO-YEARS AFTER THE CLAlM ACCRUES.

The amount claimed should be substantiated by competent evidence as follows:

(a) ln support of the claim for personal injury or death, the claimant should submit a
written report by the attending physician showing the nature and extent of the injury, the
nature and extent of treatment, the degree of permanent disability, if any, the prcgnosis,
and the period of hospitalization or incapacitation attaching itemized bills for medical,
hospita|, or burial expenses actually incurred

(b) ln support of claims for damage to property, which has been or can be economically
repaired, the claimant should submit at least two itemized signed statements or estimates
by reliable, disinterested concerns, or, if payment has been made, the itemized signed
receipts evidencing payment

(c) ln support of claims for damage to property which is not economically repairable, or if
the property is lost or destroyed, the claimant should submit statements as to the original
cost of the property, the date of purchase, and the value of the property, both before and
after the accident Such statements should be by disinterested competent persons,
preferably reputable dealers or officials familiar with the type of property damaged, or by
two or more competitive bidders, and should be certined as being just and correct

(d) Failure to specify a sum certain will render your claim invalid and may result in
forfeiture of your rights

 

PR|VACY ACT NOTlCE

This Notice is provided in accordance With the Privacy Act, 5 U.S.C. 552a(e)(3), and
dbncerns the information requested in the letter to which this Notice is\attached.
A. Aufhority: The requested information is solicited pursuant‘to one or more of the
following: 5 U.S.C. 301l 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R_
Part 14.

 

B, Pn'ncipal Purpose: The information requested is to be used in evaluating claims.

C. Rouline Use: See the Notices of Systems of Records for the agency to whom you are
submitting this form for this information

D. El?ecf of Failure to Respond: Disclosure is voluntary. However, failure to supply the
requested information or to execute the form may render your claim "invalid,"

 

 

PAPERWORK REDUCTlON ACT NOTlCE

Thls notice is solely for the purpose of the Paperworl< Reduction Act, 44 U.S.C. 3501r Public reporting burden for this collection of information is estimated to average 6 hours per
response including the time for reviewing instructions searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information Send comments regarding this burden estimate or any other aspect of this collection of information including suggestions for reducing this burden, to the Director, TOrtS
Branch, Attention: Paperworl< Reduction Staff, Civi| Division, U_S. Department of Justice, Wasl'iington, DC 20530 or to the Oflice of Management and Budget, Do not mail completed

form(s) to these addresses

 

STANDARD FORM 95 REV. (2/2007) BACK

 

 

CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.l?S Page 12 Of 22

EXHIBIT C

CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.l74 Page 13 Of 22

DEPARTMENT OF THE NAVY
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TORT cl_AiMs uNiT NoRFol.K
9620 MARYLAND AvENuE suiTE 205

NORFOLK, VA 23511-2949 m REPLY REFER TO

5890
Ser Jl70383
January 27, 2017

 

CERTIFIED MAIL
RETURN RECEIPT REOUESTED

 

sHIRAZ K KHAN EsQ

THE erRAz LAW FIRM

20245 WEsr 12 MILE rtvo sunn 215
sournFiELD M148076

Dear Mr. Khan:

SUBJECT: CORRESPONDENCE CONCERNING GHAZALA AND MASOOD SIDDIQUI O/B/O
R. SIDDIQUI ESTATE; OUR FILE NOS. 1170383 & Jl70384

We received the enclosed Standard Form 95s and correspondence dated December 12, 2016,
purporting to be claims against the United States. I am returning the original Standard Form 955 and
correspondence because they do not contain information necessary to properly present a Claim under the
Federal Tort Claims Act (FTCA). See 32 C.F.R. § 750.6(a). Specifically, you failed to provide evidence
of the claimants’ authority to present a claim on behalf of the decedent’s estate (this Will take the form of
an order from a court appointing the claimants as administrator or executor or personal representative as
the case may be).

Until We receive this information you have not presented a proper claim and the two-year
statute of limitations continues to run.

Please follow the instructions enclosed With the SF 95. IfWe do not receive the SF 95 or a letter
containing the requested information in a timely manner, your attempt to file a claim may be barred by the
Statute of limitations

lf you have any questions, please contact me by phone at (757) 341-4580, tax at (757) 341-4562, or
email at john.braley@navy.mil.

Sincerely, ‘

3

f

JoHN R. BRALEY tv
Tort Claims Attorney

Enclosure

 

CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.l?B Page 14 Of 22

EXHIBIT D

 

CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.l?G Page 15 Of 22

 

 

 

 

 

A PROFESS|ONAL L|l\/llTED L|ABlLlTY COl\/|PANY

February 28, 2017

DELIVERED VIA CERTIFIED MAIL

Office of the Judge Advocate General
Tort Claims Unit Norfolk

9620 Maryland Avenue, Suite 205
Norfolk, VA 23 51 1-2949

RE: Death of Raheel Siddiqui / 5890 Ser J170383 & J170384
Location: United States Marine Corps, Parris Island, SC.

Dear Mr. Braley:
This letter is in reference to your correspondence dated January 27, 2017.

ln support of our Standard Form 95 submitted December 12, 2016, and as requested,
please see the attached Letters of Authority for Personal Representative appointing the claimants,
Ghazala Siddiqui and Masood Siddiqui as Co-Personal Representatives for the estate of their
deceased son, Raheel Siddiqui, as ordered by The State of Michigan Probate Court, County of
Wayne.

We are attaching herewith a copy of the Standard Form 95s confirming receipt, and trust
your office has the supporting documents/addendums that vvere sent With the original filing on

December 12, 2016. If a copy of the original filing is required, please contact us.

Thank you for your cooperation

  

Siddiq.22817 pg. l of 2

 

THE SHlRAZ LAW FlRM, PLLC.
20245 W. 12 Mi|e Rol, Suite 215, Southfie|o|, Mi 48076. Tel: 248.419.0678 Fo)<: 248.8i 7.4833
Emo`l|: into@shirczldwfirm.com Welosite: Www.shiro\zlowfirm.com

 

CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18

SKK:ah
Enclosures.

CC.

CC.

Ghazala Siddiqui

Parent (l\/Iother) of Deceased Raheel Siddiqui
& On Behalf of the Estate of Raheel Siddiqui
c/o Shiraz K. Khan, ESQ.

20245 W. 12 Mile Rd., Suite 215

Southf`ield, Ml. 48076

Masood Siddiqui

Parent (Father) of Deceased Raheel Siddiqui
& On Behalf of the Estate of Raheel Siddiqui
c/o Shiraz K. Khan, ESQ.

20245 W. 12 Mile Rd., Suite 215

Southfield, MI. 48076

siddiq.zzsiv

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Page 16 of 22

pg. 20f2

 

THE SHlRAZ LAW FlRM, PLLC.

20245 W_ 12 Mi|e Rd, Suite 215, Southt"lelo|, Mi 48076. Te|: 248.419.0678 Fci)<: 248.817.4833
Emoi|: info@shirczlowfirm.com Website: www.shiroz|owfirm.com

 

 

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90 OSM CODE: LET
STATE OF MICHIGAN FlLE NO.
PROBATE COURT LETTERS OF AUTHOR|TY FOR 2017-825496-DE
COUNTY OF WAYNE PERSONAL REPRESENTAT|VE Judg€ JHdYAHa“Sfield

 

 

 

Estate of Raheel Siddiqui, Decedent

 

 

 

 

 

 

 

TO; Name, address, and telephone no.

Ghazala Siddiqui Masood siddiqui

2201 Whit€fl€ld Street 2201 Whitefield Street

DearbOl'rl HtS, MI 48127 Dearborn Hts, MI 48127

(734)-772-8492 (734)-772-8492
You have been appointed and qualified as Co- Personal Representative of the estate on 02/28/2017

Date
You are authorized to do and perform all acts authorized by law except as to the following:
Restrictions:
These letters expire: 4/25/2018
Date
02/28/2017
Date Probate Register
SEE NOTlCE OF DUT|ES ON SECOND PAGE

Shiraz Khan 78359 Shiraz Khan 783 59
Attorney name (type or print) Bar no. Attorney name (type or print) Bar no.
20245 W. 12 Mile Rd. Suite 215 20245 W. 12 Mile Rd. Suite 215
Address Address
Southf`ield, MI 48076 (248)-419-0678 Southf`ield, MI 48076 (248)-419-0678
City, state, zip Telephone no. City, state, zip Telephone no.

l certify that l have compared this copy with the original on file and that it is a correct copy of the original, and on this date, these letters are
in full force and effect ;:` ~ ‘

Date ; ll DeputyProate ' er 1 vi 4 0 -¢

  

 

The Letters of Authority are valid only if issued with the raise seal of the Wayne County Probate Court

Do not write below this line - F or court use only 7 ' `

MCL 700.3].()3;1\/1CL 700,3307, MCL 700.3414,
MCL 700.3504, MCL 700.3601,;

PC 572 (06/16) LETTERS OF AUTHOR|TY FOR PERSONAL REPRESENTAT|VE MCR 5.202, MCR 5.206, MCR 5.307, MCR 54310

Ghazala Siddiqui
2201 Whitef`ield Street
Dearborn Hts, MI 48127

 

CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.179 Page 18 Of 22

EXHIBIT E

 

 

c .:_2:17-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Pege|D.lSO Page 19 Of 22

§W " t DEPARTMENT oF THE NAVY

  

HEADQUARTERS
NAVAL CRIMINAL INVESTIGAT!VE SERVICE
27130 TELEGRAPH ROAD
QUANTICO VA 22134-2253

5720 2016-005150
SEROOLJF/ 16U141 8

. JUL 2 9 2016
Mr. Shiraz Khan

The Shiraz Law Firm, PLLC
20245 W. 12 Mile Road, Suite 215
Southfield, MI 48076

SUBJECT: FlLE NUMBER 2016-005150
Dear Mr. Khan,

This responds to your July 20, 2016 Freedom of Information Act (FOIA) request on behalf of
your clients, Mr. and Mrs. Siddiqui, seeking information into the death of their son Private
Raheel Siddiqui, USMC. We received your request on July 28, 2016.

Please extend our sincere condolences on the loss of their son. lt is our desire to assist you in
your search for information concerning his death. However, the information you seek is
currently exempt from disclosure because the investigation is still pending Per the provisions of
5 U.S.C. Section § 552 (the Freedom of Information Act) at subsection (b)(7)(A), law
enforcement records are exempt if the production of the records at the time requested reasonably
can be expected to interfere with enforcement proceedings

Although your request is being denied at this time, please understand that upon closure of our
investigation, it will be processed and all releasable information will be provided to you. You will
not be required to resubmit another written request

As the official responsible for the denial of your request, l am advising you of your right to
appeal this determination Your appeal must be postmarked within 90 calendar days from the date
of this letter and should be addressed to the Secretary of the Navy's designee: Office of the Judge
Advocate General, (Code 14), 1322 Patterson Avenue, S.E., Suite 3000, Washington Navy Yard,
D.C. 20374-5066. The envelope and letter must bear the annotation "FOIA Appeal." Please
include a copy of your original request and a copy of our denial with your appeal letter.

If you choose not to appeal, you have the right to seek dispute resolution services. You may
contact the Department of the Navy's FOIA public liaison, Mr. Chris Julka, at
christopher.a.julka@navy.mil or (703) 697-0031 or the Office of Government Inforrnation
Services (https://ogis.archives.gov/).

CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.181 Page 20 Of 22

5720 2016-005150
SEROOLJF/16Ul418

If you have any questions regarding this matter, please do not hesitate to contact our office at
(571) 305-9092 or via electronic mail at ncis_foia@ncis.navy.mil.

Sincerely,
16 educ

KAREN RICHMAN
CDR, JAGC, NAVY

 

CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.182 Page 21 Of 22

EXHIBIT F

CaSe 2217-CV-13351-A.]T-DRG ECF NO. 13-1 filed 05/29/18 Page|D.183 Page 22 Of 22

 

This is to certify that

%/%/W- -

lies successfully passed the required mental, moral and physical
examinations and has been accepted for enlistment in the

Delayed Entry Program
of the United States Marine Cotps.

The defense of our country and ourji'eedoms
is the duty and privilege of every citizen.
The Marine Corps has a proud tradition of outstanding
service to our country in peace and won

Volzmtary membership in this elite military

organization is a clear demonstration ofthe Americazz
qualities ofpatriotism and loyalty

Recruz`te); United Sta!es Marz`ne Cm;os

x /-‘-,-
Presented this __Z____ day ,
_ By t e Commandz`zzg Oj‘icet; ~
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